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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

SHERESE TIPPY                                                                           PLAINTIFF

v.                                Case No. 4:18-cv-00536-KGB

DATAPATH                                                                              DEFENDANT

                                           JUDGMENT

       Pursuant to the Order filed on this date, it is considered, ordered, and adjudged that plaintiff

Sherese Tippy’s complaint is dismissed without prejudice. The relief sought is denied.

       So adjudged this 16th day of October, 2020.


                                                       ________________________________
                                                       Kristine G. Baker
                                                       United States District Judge
